     Case 8:21-cv-01359-JVS-DFM Document 25 Filed 08/30/21 Page 1 of 4 Page ID #:608




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 4                              NOTE COMPLETE CASE NUMBER
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 6
 7                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CALIFORNIA
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       ONTEL PRODUCTS
10     CORPORATION,                              Case No. 8:21-cv-01359JVS(DFMx)
11
                                 Plaintiff,
12                                               STIPULATED PRELIMINARY
13           v.                                  INJUNCTION ORDER

14     BROWNSTONE RESOURCES,
15     LLC; MODERN LIFE TREND ; &
       JOHN/JANE DOE 1-10,
16
17                               Defendants.

18          Defendants and each of their agents, servants, employees, attorneys, and any

19    other persons who are in active concert or participation with any of them are

20    prohibited from:

21       a. Selling, advertising, soliciting the sale of, or otherwise engaging in the sale or

22          prospective sale of any of the Defendants’ air cooler products, including those

23          offered for sale of sold under the names Arctic Air, Arctic Air Chillbox,

24          Portable AC V3, Chillbox Ultra Products.

25       b. Using Ontel’s trademarks, including but not limited to any of the trademarks

26          identified below, in connection with the production, sale, importation, offering

27          for sale, or advertising of any products, including portable air cooler products:

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     Case 8:21-cv-01359-JVS-DFM Document 25 Filed 08/30/21 Page 2 of 4 Page ID #:609




 1            i.   Arctic Air – Reg. No. 616188
 2           ii.   Arctic Air – Reg. No. 5814181
 3       c. Using Ontel’s copyrights, including but not limited to any of the copyrights
 4          identified below, in connection with the production, sale, importation, offering
 5          for sale, or advertising of any products, including portable air cooler products:
 6            i.   Arctic Air Ultra Packaging – VA 2-149-866
 7           ii.   Arctic Air Ultra Manual – TX 8-922-730
 8       d. Using Ontel’s patents, including but not limited to any of the patents identified
 9          below, in connection with the production, sale, importation, offering for sale,
10          or advertising of any products, including portable air cooler products:
11            i.   Arctic Air Ultra Design Patent – U.S. Patent No. D852,340
12           ii.   Arctic Air Ultra Utility Patent – U.S. Patent No. 10,712,029
13       e. Engaging in any action to pass off non-genuine Ontel products or product
14          offerings as genuine Ontel products.
15       f. Engaging in further actions to interfere with Ontel’s rights in its marks or in
16          damaging Ontel’s goodwill or reputation.
17       g. Operating or continuing to operate the following websites, or any other site(s)
18          containing content and/or offering for sale or selling products, including
19          portable air cooler products, if the website contains any products infringing
20          on Ontel’s intellectual property rights
21                    i. https://topchillbox.com
22                    ii. https://modernlifetrend.com/product-26.php
23                   iii. www.buy-chillbox.com
24                   iv. https://chillboxportableac.com
25                    v. https://Chillboxportableac.org
26                   vi. https://chillboxportableac.net
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     Case 8:21-cv-01359-JVS-DFM Document 25 Filed 08/30/21 Page 3 of 4 Page ID #:610




 1                  vii. www.chillbox-official.com
 2                 viii. https://chillboxairconditioner.com
 3                  ix. https://chillboxairconditioner.net
 4                   x. https://buybreezebox.com/dead/
 5                  xi. https://www.buyinstafrost.com/dead/
 6                  xii. buyheatstop.com
 7                 xiii. https://topchillbox.com/dead/
 8                 xiv. primechillbox.com
 9                  xv. https://getchillbox.com/dead/
10                 xvi. https://topbreezebox.com/dead/
11                 xvii. https://www.buyinstafrost.com/dead
12                xviii. https://topinstafreeze.com
13                 xix. blastauxillaryportableacmax.com
14                  xx. shopchillbox.com
15                 xxi. buyinstafreeze.com
16                 xxii. topinstafreeze.com
17                xxiii. primebreezebox.com
18       h. To the extent Defendants own, control, or operate a website or the associated
19          domain name, Defendants shall immediately and permanently take down any
20          such website, including but not limited to the above websites, which contain
21          any unlawful depiction, description, or advertisement of product that infringes
22          the intellectual property owned by Ontel and asserted in the present action.
23       i. Defendant shall also preserve all existing inventory that contains Defendants’
24          Arctic Air trademarks or copyrighted materials, as well as all records of sales,
25          invoices, or communication relating to the sale of such products or otherwise
26          Infringing Goods, signed by an authorized representative of the Company;
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28                                              3
     Case 8:21-cv-01359-JVS-DFM Document 25 Filed 08/30/21 Page 4 of 4 Page ID #:611




 1        j. Defendants, within fifteen (15) days of entry of this Stipulation, shall provide
 2            Ontel with an accounting of all sales of products sold under the Arctic Air,
 3            Arctic Air Chillbox, Portable AC V3, and/or Chillbox Ultra Products brand.
 4
 5            Order to Show Cause set for September 13, 2021 at 1:30 p.m. is VACATED.

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      IT IS SO ORDERED.
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      Dated: August 30, 2021
 9                                            ____________________________
                                                        James V. Selna
10
                                                  United States District Judge
      4843-0846-4888 v2 [64944-2110]
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